Case 2:18-cv-03325-MWF-AS Document 15 Filed 05/09/18 Page 1 of 4 Page ID #:65



  1 KELLY M. KLAUS (CA Bar No. 161091)
    kelly.klaus@mto.com
  2 ELIZABETH A. KIM (CA Bar No. 295277)
    elizabeth.kim@mto.com
  3 MUNGER, TOLLES & OLSON LLP
    350 South Grand Avenue, Fiftieth Floor
  4 Los Angeles, California 90071-3426
    Telephone:    (213) 683-9100
  5 Facsimile:    (213) 687-3702

  6 MICHAEL B. DESANCTIS (pro hac vice pending)
    michael.desanctis@mto.com
  7 MUNGER, TOLLES & OLSON LLP
    1155 F Street N.W., Seventh Floor
  8 Washington, D.C. 20004-1357
    Telephone:     (202) 220-1100
  9 Facsimile:     (202) 220-2300

 10
      Attorneys for Plaintiffs
 11

 12                                UNITED STATES DISTRICT COURT

 13                   CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 14

 15 Amazon Content Services, LLC; Columbia            Case No. 2:18-cv-03325 SVW (Ex)
    Pictures Industries, Inc.; Disney Enterprises,
 16 Inc.; Netflix Studios, LLC; Paramount Pictures    PROOF OF SERVICE
    Corporation; Sony Pictures Television Inc.;
 17 Twentieth Century Fox Film Corporation;
    Universal City Studios Productions LLLP;
 18 Universal Cable Productions LLC; Universal
    Television LLC; Warner Bros. Entertainment
 19 Inc.,

 20                  Plaintiffs,

 21          vs.

 22 Set Broadcast, LLC d/b/a Setvnow; Jason
    Labossiere; Nelson Johnson,
 23                Defendants.

 24

 25

 26

 27

 28
                                        38571281.1 PROOF OF SERVICE
                                       CASE NO. 2:18-CV-03325 JWS (EX)
     Case 2:18-cv-03325-MWF-AS Document 15 Filed 05/09/18 Page 2 of 4 Page ID #:66

Attorney Or Party Without Attorney (name And Address)                                               Telephone:
                                                                                                                         FOR COURT USE ONLY
     KELLY M. KLAUS, ESQ. (161091)                                                           ( 415) 512-4000
     MUNGER TOLLES & OLSON LLP
     560 Mission Street, 27th Floor
     San Francisco, California 94105
Attorneys for: PLAINTIFFS
Insert name of court, judicial district and branch court, if any:
                                                                                                    I   W2693835

    UNITED STATES DISTRICT COURT
    CENTRAL DISTRICT OF CALIFORNIA
Plaintiff:
    Amazon Content Services, LLC,
Defendant:
    Set Broadcast, LLC d/b/a Setvnow

 PROOF OF SERVICE                          I DATE:
                                                                     I Time:           IDept/Div:                I Case Number:
                                                                                                                     2: 18-cv-03325 SVW (Ex)

I, John Shultz , Under penalty of perjury, hereby declare that I am and was on
the dates herein mentioned, over the age of eighteen, and not a party to the within action;

                   1.    Complaint
I served:          2..   Civil Cover Sheet
                  3.     Request fOf' aerk to Issue Summons
                  4.     Corporate Disclosure statements
                  s.     Report on the Filing or Determination of an Action
                  6.     Notice of Refated cases
                  7.     Notice of Assignment
                  a.     Notice to Parties of ADR
                  9,     Notice of Pro Hae Vice App Due
                  10.    New case Order
                  11.    Sum mom




in this action by personally delivering to and leaving with the following defendant or person
on the date set opposite their respective names, a true copy thereof:

Defendant                           SET BROADCAST, LLC d/b/a SETVNOW

Served:                             MICHAEL J, FAEHNER, ESQ, Agent for Service

Address                             600 Bypass Drive, Suite 100 , Clearwater, Fl 33764
Date & Time                         Friday, April 27, 2018 @ 10:00 a.m.
Witness fees were                   Not demanded or paid.




Person serving:
John Shultz                                                                   D   not a registered California process server.
Wheels of Justice, Inc.
52 Second Street, Third Floor
                                                                              0   exempt from registration under B&P Section 223SO(b).

San Francisco, California 94105                                               ~   a registered California process server
Phone: (415) 546-6000                                                             D  owner      D
                                                                                                employee             0     independent contractor
Fee for service:                                                                  County: Orange Reg No.: 2407


I declare under penalty of perjury under the laws of the State of Califor
is true and correct.

Date: April 30, 2018
              Case 2:18-cv-03325-MWF-AS Document 15 Filed 05/09/18 Page 3 of 4 Page ID #:67
                                                                                                                                                                       POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                                  FOR COURT USE ONLY

    KELLY M. KLAUS, ESQ. {161091)
' - MUNGER TOLLES & OLSON LLP
    560 Mission Street, 27th Floor
    San Francisco, California 94105
          TELEPHONE NO.: (415) 512-4000                        FAX NO. (Optional):   (415) 512-4077
  E-MAIL ADDRESS (Optional):
       ATTORNEY FOR /Name):       PLAINTIFFS
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          STREET ADDRESS:       255 E. Temple St.
         MAILING ADDRESS:
        CITY AND ZIP CODE:      Los Angeles, California 90012
              BRANCH NAME:


        PLAINTIFF/PETITIONER:                                                                                              CASE NUMBER:
                                           Amazon Content Services, LLC,
                                                                                                                                    2:18-cv-03325 SVW (Ex)
 DEFENDANT/RESPONDENT:                     Set Broadcast, LLC d/b/a Setvnow
                                                                                                                           Ref. No. or File No.:

                                        PROOF OF SERVICE OF SUMMONS                                                                                W2693835

                                                  (Separate proof of service is required for each party served.)
1.      At the time of service I was at least 18 years of age and not a party to this action.
2.      I served copies of:
        a.     D         summons
        b.     D         complaint
        c.     D         Alternative Dispute Resolution (ADR) package
        d.     D         Civil Case Cover Sheet (served in complex cases only)
        e.     D         cross-complaint                  1.      Complaint

        f.     m         other (specify documents):
                                                          2.
                                                          3.
                                                          4.
                                                                  Civil Cover Sheet
                                                                  Request tor Clerk to Issue Summons
                                                                  Corporate Disclosure Statements
                                                          5.      Reoort on the Fllina or Determination of an Action
3.      a. Party served (specify name of party as shown on documents served):

              SET BROADCAST, LLC d/b/a SETVNOW
        b.    [yJ     Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                      under item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
              MICHAEL J, FAEHNER, ESQ, Agent for Service
4.       Address where the party was served: 600 Bypass Drive, Suite 100
                                                         Clearwater, Fl 33764
5.      I served the party (check proper box)
        a.    W    by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                    receive service of process for the party (1) on (date): 4/27/2018           (2) at (time): 10:00 a.m.
         b.    D         by substituted service. On (date):                     at (time):            I left the documents listed in item 2 with or
                         in the presence of (name and title or relationship to person indicated in item 3):


                        {1)    D         (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                         of the person to be served. I informed him or her of the general nature of the papers.

                        (2)    D         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                         place of abode of the party. I informed him or her of the general nature of the papers.
                        (3)    D         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                         address of the person to be served, other than a United States Postal Service post office box. I informed
                                         him or her of the general nature of the papers.
                        (4)    D         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                         at the place where the copies were left (Code Civ. Proc.,§ 41 .20~. I mailed the documents on

                        (5)    D
                                         (date):              from (city):                            or               1
                                                                                                                a declaration of mailing is attached.
                                         I attach a declaration of diligence stating actions taken first to attempt personal service.
                                                                                                                                                                          Page 1 of2
     Form Adopted for Mandatory Use                                                                                                                   Code of Civil Procedure, §417.10
       Judicial Council of California                          PROOF OF SERVICE OF SUMMONS
     POS-010 [Rev. January 1, 2007]
            Case 2:18-cv-03325-MWF-AS Document 15 Filed 05/09/18 Page 4 of 4 Page ID #:68
       PLAINTIFF/PETITIONER:                  Amazon Content Services, LLC,                                 CASE NUMBER:

                                                                                                                2: 18-cv- 03325 SVW (Ex)
  DEFENDANT/RESPONDENT:                       Set Broadcast, LLC d/b/a Setvnow



 5.   c.    D         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                      address shown in item 4, by first-class mail, postage prepaid,

                      (1) on (date):                                                   (2) from (city):
                      (3)    D          with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                        to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                      (4)   D           to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)

      d.    D         by other means (specify means of service and authorizing code section):



            D         Additional page describing service is attached.

 6.   The "Notice to the Person Served" (on the summons) was completed as follows:
       a.    D   as an individual defendant.
       b.    D        as the person sued under the fictitious name of (specify):
       c.    D        as occupant.
       d.    W        On behalf of (specify): SET BROADCAST, LLC d/b/a SETVNOW
                      under the following Code of Civil Procedure section:
                                    D     416.10 (corporation)                        D    415.95 (business organization. form unknown)
                                    D     416.20 (defunct corporation)                D    416.60 (minor)
                                    D     416.30 Ooint stock company/association)     D    416.70 (ward or conservatee)
                                    D     416.40 (association or partnership)         D    416.90 (authorized person)
                                    D     416.50 (public entity)                      D    415.46 (occupant)
                                                                                      00   other: Corporation Code 17701.16
7.    Person who served papers
      a. Name: John Shultz
      b. Address: Wheels of Justice, Inc., 52 Second Street, Third Floor, San Francisco, California 94105
      c. Telephone number: ( 415) 546-6000
      d. The fee for service was: $
      e. lam:

            (1)   0         not a registered California process server.
            (2)   D         exempt from registration under Business and Professions Code section 22350(b).
            (3)   D         a registered California process server:
                            (i)     D    owner      D  employee       W     independent contractor.
                            (ii)    Registration No.: 19948
                            (iii)   County: Pinellas

8.    W        I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
               or
9.    D        I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: April 30, 2018


                                    John Shultz
           (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)
                                                                                                                (SIGNATIJRE )




POS-010 [Rev. January 1, 2007]
                                                                                                                                          Page 2of 2
                                                           PROOF OF SERVICE OF SUMMONS
